948 F.2d 1284
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnnie M. WILLIAMS, Petitioner-Appellant,v.Patrick WHALEN, Respondent-Appellee.
    No. 91-7154.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 21, 1991.Decided Nov. 20, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   Richard L. Williams, District Judge.  (CA-91-31-3)
      Johnnie M. Williams, appellant pro se.
      Robert William Jaspen, Office of the United States Attorney, Richmond, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Johnnie M. Williams appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2241.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Williams v. Whalen, CA-91-31-3 (E.D.Va. May 14 and July 2, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    